           Case: 21-1786 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.61-1   Filed: 09/13/2022
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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt           POTTER STEWART U.S. COURTHOUSE               Tel. (513) 564-7000
        Clerk                     CINCINNATI, OHIO 45202-3988             www.ca6.uscourts.gov




                                              Filed: September 13, 2022




 Mr. David H. Fink
 Fink Bressack
 38500 Woodward Avenue
 Suite 350
 Bloomfield Hills, MI 48304

 Mr. Nathan Joshua Fink
 Fink Bressack
 38500 Woodward Avenue
 Suite 350
 Bloomfield Hills, MI 48304

 Mr. Erik A. Grill
 Office of the Attorney General
 of Michigan
 P.O. Box 30217
 Lansing, MI 48909

 Mr. Howard Kleinhendler
 Howard Kleinhendler Esquire
 369 Lexington Avenue
 12th Floor
 New York, NY 10017

 Ms. Heather S. Meingast
 Office of the Attorney General
 of Michigan
 P.O. Box 30217
 Lansing, MI 48909
           Case: 21-1786 Document:
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 Ms. Sidney Powell
 Sidney Powell
 2911 Turtle Creek Boulevard
 Suite # 300
 Dallas, TX 75219

                  Re: Case No. 21-1786, Timothy King v. Gretchen Whitmer, et al
                      Originating Case No. : 2:20-cv-13134

 Dear Counsel,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/C. Anthony Milton
                                                Case Manager
                                                Direct Dial No. 513-564-7026

 cc: Ms. Kinikia D. Essix
     Mr. T. Russell Nobile
     Mr. Paul Joseph Orfanedes

 Enclosure
                                              Case: 21-1786 Document:
                                   Case 2:20-cv-13134-LVP-RSW ECF No.61-2   Filed: 09/13/2022
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                                                                              No. 21-1786

                                                               UNITED STATES COURT OF APPEALS
                                                                    FOR THE SIXTH CIRCUIT


                                    TIMOTHY KING, et al.,                              )
                                                                                       )
                                           Plaintiffs,                                 )
                                                                                       )
                                    and                                                )            ORDER
                                                                                       )
                                    GREGORY J. ROHL, et al.,                           )
                                                                                       )
                                           Interested Parties-Appellants,              )
                                                                                       )
                                    v.                                                 )
                                                                                       )
                                    GRETCHEN WHITMER, et al.,                          )
                                                                                       )
                                           Defendants-Appellees.                       )



                                           Plaintiffs’ counsel appeal as interested parties from the district court's order approving an

                                    award of attorney fees to be paid by plaintiffs’ counsel as sanction for filing a frivolous suit

                                    alleging fraud in the 2020 presidential election. They move for leave to file an oversized reply

                                    brief consisting of 9,243 words, citing the voluminous record and oversized principal briefs.

                                           The court seldom permits briefs in excess of the word limitations set by the Federal Rules

                                    of Appellate Procedure. 6 Cir. I.O.P. 28(a). Accordingly, the motion is PROVISIONALLY

                                    GRANTED, insofar as the filed oversized reply brief shall be referred to the ultimate merits

                                    panel upon the completion of all briefing with deference to that panel to make a final ruling.

                                                                                 ENTERED PURSUANT TO RULE 45(a)
                                                                                 RULES OF THE SIXTH CIRCUIT




                                                                                 Deborah S. Hunt, Clerk




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